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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DOUGLAS J. BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOSE ANGUIANO
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. 2:08-cr-00417-MCE
                                     )
12                  Plaintiff,       )      STIPULATION AND ORDER TO U.S.
                                     )      PROBATION TO PREPARE
13        v.                         )      A PRE-PLEA PRESENTENCE REPORT
                                     )
14   JOSE ANGUIANO,                  )      Judge:     Hon. Morrison C. England
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17         The parties, JASON HITT, Assistant United States Attorney, and
18   DOUGLAS J. BEEVERS, Assistant Federal Defender, attorney for defendant
19   JOSE ANGUIANO, hereby stipulate and agree to the following:
20         1. The parties request that the Court order U.S. Probation to
21   prepare a pre-plea pre-sentence report including a criminal record check
22   and a preliminary guideline calculations.
23         2. The Defendant agrees that all delay in the case resulting from
24   the pre-plea presentence report process would be excluded for purposes of
25   speedy trial calculations as a T4 continuance.
26   ///
27   ///
28   ///
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1         3.     The parties agree to provide copies of any criminal records
2    information to U.S. Probation to facilitate the preparation of the
3    report.     The parties believe that they have already obtained certified
4    copies of most of the significant criminal history documents needed for
5    a guideline calculation.
6         4.     The parties believe that this pre-plea presentence report will
7    facilitate a plea agreement, and will facilitate the preparation of a
8    final presentence report.
9
10   Dated:    September 10, 2010              Respectfully submitted,
11                                             DANIEL J. BRODERICK
                                               Federal Defender
12
                                               /s/ DOUGLAS BEEVERS
13                                             DOUGLAS BEEVERS
                                               Assistant Federal Defender
14                                             Attorney for Defendant
                                               JOSE ANGUIANO
15
16                                             BENJAMIN B. WAGNER
                                               United States Attorney
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18                                             /s/ Jason Hitt
                                               Jason Hitt
19                                             Assistant U.S. Attorney
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1                                         ORDER
2        Based upon the stipulation of counsel set forth above, the Court
3    adopts the stipulations.
4        IT IS SO ORDERED.
5
     Dated: September 16, 2010
6
7                                         _____________________________
                                          MORRISON C. ENGLAND, JR.
8
                                          UNITED STATES DISTRICT JUDGE
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